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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division

ISKANDARI SHAMSI,
     Plaintiff,

       v.                                                    Civil No. 3:20cv526 (DJN)

LAITH & AMR, INC., et al.,
     Defendants.


                                             ORDER

       This matter comes before the Court on the parties’ Joint Motion for Settlement Approval

(ECF No. 11), moving to approve the parties’ final settlement agreement (ECF No. 11-1). On

August 13, 2020, the Court conducted an on-the-record telephonic settlement approval hearing.

For the reasons stated during the approval hearing, the Court hereby GRANTS the parties’ Joint

Motion (ECF No. 11) and APPROVES the final settlement agreement (ECF No. 11-1) as fair

and adequate. Pursuant to the terms of the settlement agreement, the Court hereby DISMISSES

WITH PREJUDICE all claims by Plaintiff against Defendants.

       This case is now CLOSED.

       Let the Clerk file a copy of this Order electronically and notify all counsel of record.

       It is so ORDERED.



                                                     ____/s/_________________
                                                               _______________
                                                     David J. Novak
                                                     United States
                                                              ates District Judge


Richmond, Virginia
Date: August 13, 2020
